              Case: 1:19-cv-06014 Document #: 3 Filed: 09/06/19 Page 1 of 5 PageID #:10

                   [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]


     FILED                          UNITED STATES DISTRICT COURT FOR THE
                                        NORTHERII DISTRICT OF ILLINOIS
      sEP o 6      zole[-t
   THOMAS G BRUTON                                                             IN FORMA PAUPERIS APPLICATION
CI.ERK U.S. DISTRICT @URT                                                      AND FINANCIAL AFFIDAVIT

             RflyL A,                uhSQWz
       Plaintiff                                                              1:19-cu-06014
                                                                              Judge John Z. Lee
                                                                              Magistuate Judge Jeftey Cummings
             ctra o? c117046A
       Defendant(s).

       Instructions: Please answer every question. Do not leave any blanks. If the answer is "none" or
       ,,not applicable (N/A)," write that response. Wherever a box is included, place a / in whichever
       Uo* aiities. If you need more space to answer a question or to explain your answer, attach an
       additional pug. thut refers to each such question by number and provide the additional
       information. Please print or type your answers.

       Application:        T,       Rprl t-
                                    I\W  U            ft..
                                                      0        V   tr&vtt               , declare that    I am the     p   plaintiff
                    tr movant El lother-
       E petitioner E                                                                                                        in the
                                                                                        -) fulI
       above-entitled case. This affidavit constitutes my application to proceed E(without
       prepayment of fees, or E in support of my motion for appointment of counsel, or E[ both. I
       declare that I am unable to pay the costs of these proceedings, and I believe that I am entitled to
       the relief sought in the complaint/petition/motion/appeal. In support of my application, I answer
       the following questions under penalty of perjury.

        l.      Are you currently incarcerated?                                                                EI   Yes              E[   No
                                                                                                               (If 'No" go to question 2.)

                   ID #:                              Name of prison or jail:
                   Do you receive any paYment from the institution?                                            E    Yes              trNo
                   Monthly amount:

        2.         Are you currently emPloYed?                                                                 E[ Yes                trNo
                   A.     If the answer is"yes,"state Your:
                          Monthlysalaryorwages; d. Lt.r2o                        0 - u€T
                            Name and address of emPloYer:
                                                 f,-l-                                                                                         r
                   B.       If the answer is"no," state your:
                            Beginning and ending dates of last employment:
                            Last monthly salary or wages:

                            Name and address of emPloYer:

        3.         Are you married?                                                                            El, Yes               trNo
                   If the answer is "yes", is your spouse currently employed?                                  fl   Yes              trNo
                                                                    please attach an additional sheet and reference that section']
                     [lf you need additional space for ANY.section,

        Rev.06/03/2016
      Case: 1:19-cv-06014 Document #: 3 Filed: 09/06/19 Page 2 of 5 PageID #:10

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        Spouse's Monthly salary or wages.'                     C    lpood    D   o - Maf
               Name and address of                                                                                                      ee(
                       C\trf,OfrOo, t\-, "-pto
4.      In addition to your income stated above in response to Question 2 (which you should not
        repeat here), have you or anyone else living at the same residence received more than
                                                                                   y' nextto
        $200 in the past twelve months from any of the following sources? Place a
        "Yes" or "No" in each of the categories A through G , check all boxes that apply in each
        category, and fill in the twelve-month total in each category.

        A.      4 Salary or Ef wages                                                                    [[   Yes              ENo
                Total received in the last 12 months:              {og       | 65q" LL6
                Received by:          gtULF \.1ft6c.U92

         B.     E     Business,               or E other self-employment
                                    E profession                                                        E Yes                 ENo
                Total received in the last 12 months:
                Received by:

         C. E      Rental income, E interest or E dividends                                             E Yes                 {*o
                Total received in the last 12 months:
                Received by:

         D.      tr Pensions,    social security, E annuities, E life
                                   E                                                                    E Yes                 (No
                insurance, D disability, E workers' compensation,
                E alimony or maintenance or child support tr
                Total received in the last 12 months:
                Received by:

         E.      tr Gifts or E inheritances                                                             E    Yes              ANo
                 Total received in the last 12 months:
                 Received by:

         F. E         Unemployment,          E welfare, or E any other public                           E    Yes              KNo
                 assistance
                 Total received in the last 12 months:
                 Received by:

         G.      tr Any other sources (describe source:                                               ) E Yes                 ENo
                 Total received in the last 12 months:
                 Received by:

5.       Do you or anyone else living at the same residence have                          more { Yes                          tr   No
         than $200 in cash or checking or savings accounts?
         Total amount:            &
                             t,ooc'. clc)
         In whose name held:              ?wu tlft&lf'L  Relationship to                            you: be\F
     WftNK     {zu(rcl f PQQ{z uatc.K = 5 n ftn< rterJ
     \ a S 60, q) xoM-ltLtl Af,{ PVilJT . foR
       i,lq,ppf ef- t3 Tu 'fa+v('gtJPTcl TRU 5Te
                                                  c
                                                                                         sheet and reference that section.]
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Rev.06/03/2016
       Case: 1:19-cv-06014 Document #: 3 Filed: 09/06/19 Page 3 of 5 PageID #:10
           [lf you need additional space for ANY section, please attach an additional sheet and reference that section']


6.       Do you or anyone else living at the same residence own any
         stocks, bonds, securities or other financial instruments?             E Yes                                        EI No
         Property:                                   Current value:
         In whose name   held:                              Relationship to you:

7.       Do you or anyone else living at the same residence owfl any real estate (with or without a
         mortgage)? Real estate includes, among other things, a house, apartment, condominium,
         roopirutiu., two-flat,        etc.                                                    No      { Yes                tr
         Typeofpropertyandaddress: Slru6ftLotJ ?032-          t,rJ 6u$\ eu     att{€,I}0a,AC    eO6zq
         Current value: l00l0o           d               Equity:                         t \rco.oo
                                                                                          (Equity
         is the difference between what the p
         In whose name held: Retr(- * , rl F
         Amount of monthly mortgage or loan
         Name of person making payments:

8.       Do you or anyone else living at the same residence own any automobiles with a current
         market value of more than
                                 ---aiiio- .  $1000?       -               El             tr No            Yes
         Year, make and.-"o.ii                    tt"e* t*NW
         Current value:       tt,
                               Ooo .          o..       Equity: .b. gOo .             (Equity is      Ocl
         the difference beiwe'en what the automobile is worth and the amount you owe on it.)
         Amount of monthly loan payments: dL 2(,o -       oO
         In whose name he\dt ?-fuOL                      Ufr&oq.
                                                          Relationship to                             you: b(\F
         Name of person making payments:

g.       Do you or anyone else living at the same residence own any boats, trailers, mobile homes
         or other items of personal property with a current market value of more than 51000?
                                                                                                       E Yes                (*o
          Property:
          Current value:                                  Equity:                       (Equity
          is the difference between what the property is worth and the amount you owe on it.)
          Amount of monthly loan payments:
          In whose name held:                              Relationship to you:
          Name of person making payments:

 10.      List the persons who live with you who are dependent on you for support. State your
          relationship to each person and state whether you are entirely responsible for the person's
          support or the specific monthly amount you contribute to his or her support. If none,
          check here:     E None.
                                                              & .o() (0{2- ,choo                  (    '6!4ilol fct    /    Por   r fizoo. o"t
                                                            5oo.

 ll.      List the persons who do not live with you who are dependent on you for support. State
          your relationship to each person and state how much you contribute monthly to his or her
          support. If none, check here: fr None.




                                                                                       sheet and reference that section.]
            [lf you need additional space for ANY section, please attach an additional

 Rev.06/03/2016
       Case: 1:19-cv-06014 Document #: 3 Filed: 09/06/19 Page 4 of 5 PageID #:10
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I declare under penalty of perjury that the above information is true and correct. I understand
that 28 U.S.C. $ 1915(eX2)(A) states that the court shall dismiss this case atany time if the
court determines that my allegation of poverty is untrue.

Darc.     05 5eQ \1
                                                                       Signature     of
                                                                               +                   @Ue7/
                                                                       (Print Name)



NOTICE TO PRISONERS: In addition to the Certificate below.                                a prisoner must also attach a
                                                                      durin
showine all receipts. expenditures and balances in the prisoner's prison orjail trust fund
accounts during that period. Because the law requires information as to such accounts covering
a full six months before you have filed your lawsuit, you must attach a sheet covering
transactions in your own account - prepared by each institution where you have been in custody
during that six-month period. As already stated, you must also have the Certificate below
comoleted bv an authorized officer at each instinrtion.



                                                     CERTIFICATE
                                     (Incarcerated applicants onlY)
                           (To be completed by the institution of incarceration)

I certiff that the applicant named herein,                               ,I.D.#                   , has
the sum of $                    on account to hislher credit at (name of institution)
                                     . I further certiff that the applicant has the following
securities to his/her credit:                   . I further certi0/ that during the past six months the
applicant's average monthly deposit was $                           . (Add all deposits from all
sources and then divide by number of months).

Date                                                Signature of Authorized Officer



(Print Name)




                                                                                       sheet and reference that section.]
            [lf you need additional space for ANY section, please attach an additional

Rev. 06/03/2016
                    Case: 1:19-cv-06014 Document #: 3 Filed: 09/06/19 Page 5 of 5 PageID #:10

                                          UI\IITED STATES BANKRUPTCY COT]RT
                                    NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
Raul Alberto V               ,   Ilebtor                                                                                   Docket #         l9-19653
Attorney for   llcbto(r): Gcrrci Lsw LLC & Jonathan Parker                                                      Judge:   Barnes,TimothyA.




 Attention Creditors and Payroll Departments:
 our client(s) filed   a   Chapter 13 Bankruptcy on7l12l20l9                 and the   Bankruptcy Docket # 19-19653.        you must
 cease all collection proceedings          immediately. Please read below.

 Collection action is prohibited: ttre          above-captioned party has filed a Chapter 13 Petition for relief under the federal
 bankruptcy laws, I I U.S.C. and that pursuant to said statute and the Bankruptcy Rules, the filing of the Petition automatically
 operates as a stay of commencement or continuation of any action against the Debtor on a debt.


 Garnishment by Creditors Must Stop on Receipt of this Stay No Further Order is required eny
creditor, or payroll person, who continues to gamish on a pre-filing debt, may be in violation of I I U.S.C. 362. Payroll departments
must coase gamishment deductions as of the date of filing of bankruptcy. No creditor may take any further collection action against
the debtor unless specifically permitted by written order of the U.S. Bankruptcy Court. No creditor in a Chapter 13 may take
collection action against any co-signer unless specifically permiued by written order of the U.S. Bankruptcy Court or as permitted by
statute.


Turnover of Collccted Funds            No further garnishments, or attachments are permitted after the date of filing of the Petition.
Funds deducted for meditors before dateoffiling are subject to turnover orders. Any funds deducted after date offiling by employer
must be immediately returned to and payable directly to the debtor/employee.



Employersl You must IMMEDIATELY stop any deductions for creditors, debt collectors on lawsuits or garnishments or you
may face Court sanctions. Do NOT stop voluntary deductions such as pension, 401K, dues, health insurance, withholding tax,
domestic support obligations, union dues, insurance, or any other dcduction that is not a debt collection.


Credit Unions              Payroll must cease assisting collection of Credit Union Debts unless and until Debtor signs a reaffirmation
agreement. No further order is necessary.


Payroll Department if a Chapter 13 Payroll              department should immediately be prepared to deduct the Debtor's Chapter
l3   payment each pay period and promptly send that payment to the applicable Chapter l3 Trustee. When you receive a PAYROLL
DEDUCTION ORDER from a Chapter 13 Trustee or a VOLUNTARY PAYROLL DEDUCTION from us signed by the Debtor, you
must start deductions for Chapter l3 payments and send them to the Chapter l3 Trustee promptly.


Repossessed Vehicles Chapter                    13 rules require prompt tumover of the vehicle to the Debtor.

Questions? Contact our oflice or your own attorney if you are confused or uncertain.
IMPORTANT CASE INFORMATION
Name of the Debtor(s):                      RaulAlbertoVasquez -[***-**-8012             I   -t**-*.-f
Bankruptcy Docket #:                        19-19553
Chapter Filed:                              Chapter 13
Date Filed:                                 7112t2019
Judge:                                      Barnes, Timothy A.
Trustee:                                    Marshal!, Marilyn O.
341 Date, Time, Location:                   8m2019 @ 1:00 pm
                                            224 S. Michigan Ave. #800 Ghicago lL 606O4


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PFG Record # 819074
